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   8                                       IN THE UNITED STATES DISTRICT COURT
   9                                           EASTERN DISTRICT OF CALIFORNIA
 10
         RALPH COLEMAN,                                                        )   Case No. Civ. S 90-0520 LKK-JFM
 11                                                                            )
                   Plaintiff,                                                  )   [PROPOSED] ORDER REGARDING
 12                                                                            )   PLAINTIFFS’ MOTION TO COMPEL
         vs.                                                                   )   DISPUTED 2006 ATTORNEYS’ FEES,
 13                                                                            )   COSTS AND EXPENSES
         ARNOLD SCHWARZENEGGER, et al.,                                        )
 14                                                                            )
                   Defendants                                                  )
 15                                                                            )
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489\5\pleading\Prop Order re 2006 Disputed Fees, Costs, Expenses, 6-6-07.doc            [PROPOSED] ORDER REGARDING DISPUTED 2006
                                                                                        ATTORNEYS’ FEES, COSTS AND EXPENSES
  Case 2:90-cv-00520-KJM-SCR                            Document 2262         Filed 06/06/07     Page 2 of 2


   1               On June 6, 2007, the parties in this case submitted a Stipulation regarding disputed
   2     attorneys’ fees, costs and expenses incurred during the third and fourth quarters of 2006.
   3     There are no disputed fees, costs or expenses from the first and second quarters of 2006.
   4               Pursuant to the stipulation filed on June 6, 2007, IT IS HEREBY ORDERED that the
   5     parties will have until June 12, 2007 to complete their meet and confer regarding disputed
   6     attorneys’ fees, costs and expenses incurred in 2006. If the parties are unable to fully
   7     resolve the disputed amounts by June 12, 2007, plaintiffs will file a motion to compel
   8     payment on or before July 13, 2007.
   9     IT IS SO ORDERED.
 10      Dated:
                                                                        John F. Moulds, Magistrate Judge
 11                                                                     United States District Court
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                                                                                 ATTORNEYS’ FEES, COSTS AND EXPENSES
